Case:05-04680-ESL7 Doc#:1 Filed:05/20/05 Entered:05/23/05 09:52:45   Desc: Main
                          Document Page 1 of 38
Case:05-04680-ESL7 Doc#:1 Filed:05/20/05 Entered:05/23/05 09:52:45   Desc: Main
                          Document Page 2 of 38
Case:05-04680-ESL7 Doc#:1 Filed:05/20/05 Entered:05/23/05 09:52:45   Desc: Main
                          Document Page 3 of 38
Case:05-04680-ESL7 Doc#:1 Filed:05/20/05 Entered:05/23/05 09:52:45   Desc: Main
                          Document Page 4 of 38
Case:05-04680-ESL7 Doc#:1 Filed:05/20/05 Entered:05/23/05 09:52:45   Desc: Main
                          Document Page 5 of 38
Case:05-04680-ESL7 Doc#:1 Filed:05/20/05 Entered:05/23/05 09:52:45   Desc: Main
                          Document Page 6 of 38
Case:05-04680-ESL7 Doc#:1 Filed:05/20/05 Entered:05/23/05 09:52:45   Desc: Main
                          Document Page 7 of 38
Case:05-04680-ESL7 Doc#:1 Filed:05/20/05 Entered:05/23/05 09:52:45   Desc: Main
                          Document Page 8 of 38
Case:05-04680-ESL7 Doc#:1 Filed:05/20/05 Entered:05/23/05 09:52:45   Desc: Main
                          Document Page 9 of 38
Case:05-04680-ESL7 Doc#:1 Filed:05/20/05 Entered:05/23/05 09:52:45   Desc: Main
                         Document Page 10 of 38
Case:05-04680-ESL7 Doc#:1 Filed:05/20/05 Entered:05/23/05 09:52:45   Desc: Main
                         Document Page 11 of 38
Case:05-04680-ESL7 Doc#:1 Filed:05/20/05 Entered:05/23/05 09:52:45   Desc: Main
                         Document Page 12 of 38
Case:05-04680-ESL7 Doc#:1 Filed:05/20/05 Entered:05/23/05 09:52:45   Desc: Main
                         Document Page 13 of 38
Case:05-04680-ESL7 Doc#:1 Filed:05/20/05 Entered:05/23/05 09:52:45   Desc: Main
                         Document Page 14 of 38
Case:05-04680-ESL7 Doc#:1 Filed:05/20/05 Entered:05/23/05 09:52:45   Desc: Main
                         Document Page 15 of 38
Case:05-04680-ESL7 Doc#:1 Filed:05/20/05 Entered:05/23/05 09:52:45   Desc: Main
                         Document Page 16 of 38
Case:05-04680-ESL7 Doc#:1 Filed:05/20/05 Entered:05/23/05 09:52:45   Desc: Main
                         Document Page 17 of 38
Case:05-04680-ESL7 Doc#:1 Filed:05/20/05 Entered:05/23/05 09:52:45   Desc: Main
                         Document Page 18 of 38
Case:05-04680-ESL7 Doc#:1 Filed:05/20/05 Entered:05/23/05 09:52:45   Desc: Main
                         Document Page 19 of 38
Case:05-04680-ESL7 Doc#:1 Filed:05/20/05 Entered:05/23/05 09:52:45   Desc: Main
                         Document Page 20 of 38
Case:05-04680-ESL7 Doc#:1 Filed:05/20/05 Entered:05/23/05 09:52:45   Desc: Main
                         Document Page 21 of 38
Case:05-04680-ESL7 Doc#:1 Filed:05/20/05 Entered:05/23/05 09:52:45   Desc: Main
                         Document Page 22 of 38
Case:05-04680-ESL7 Doc#:1 Filed:05/20/05 Entered:05/23/05 09:52:45   Desc: Main
                         Document Page 23 of 38
Case:05-04680-ESL7 Doc#:1 Filed:05/20/05 Entered:05/23/05 09:52:45   Desc: Main
                         Document Page 24 of 38
Case:05-04680-ESL7 Doc#:1 Filed:05/20/05 Entered:05/23/05 09:52:45   Desc: Main
                         Document Page 25 of 38
Case:05-04680-ESL7 Doc#:1 Filed:05/20/05 Entered:05/23/05 09:52:45   Desc: Main
                         Document Page 26 of 38
Case:05-04680-ESL7 Doc#:1 Filed:05/20/05 Entered:05/23/05 09:52:45   Desc: Main
                         Document Page 27 of 38
Case:05-04680-ESL7 Doc#:1 Filed:05/20/05 Entered:05/23/05 09:52:45   Desc: Main
                         Document Page 28 of 38
Case:05-04680-ESL7 Doc#:1 Filed:05/20/05 Entered:05/23/05 09:52:45   Desc: Main
                         Document Page 29 of 38
Case:05-04680-ESL7 Doc#:1 Filed:05/20/05 Entered:05/23/05 09:52:45   Desc: Main
                         Document Page 30 of 38
Case:05-04680-ESL7 Doc#:1 Filed:05/20/05 Entered:05/23/05 09:52:45   Desc: Main
                         Document Page 31 of 38
Case:05-04680-ESL7 Doc#:1 Filed:05/20/05 Entered:05/23/05 09:52:45   Desc: Main
                         Document Page 32 of 38
Case:05-04680-ESL7 Doc#:1 Filed:05/20/05 Entered:05/23/05 09:52:45   Desc: Main
                         Document Page 33 of 38
Case:05-04680-ESL7 Doc#:1 Filed:05/20/05 Entered:05/23/05 09:52:45   Desc: Main
                         Document Page 34 of 38
Case:05-04680-ESL7 Doc#:1 Filed:05/20/05 Entered:05/23/05 09:52:45   Desc: Main
                         Document Page 35 of 38
Case:05-04680-ESL7 Doc#:1 Filed:05/20/05 Entered:05/23/05 09:52:45   Desc: Main
                         Document Page 36 of 38
Case:05-04680-ESL7 Doc#:1 Filed:05/20/05 Entered:05/23/05 09:52:45   Desc: Main
                         Document Page 37 of 38
Case:05-04680-ESL7 Doc#:1 Filed:05/20/05 Entered:05/23/05 09:52:45   Desc: Main
                         Document Page 38 of 38
